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                                                                           Debtors in Possession
                                                                   8

                                                                   9                             UNITED STATES BANKRUPTCY COURT
                                                                  10                             NORTHERN DISTRICT OF CALIFORNIA
                                                                  11                                        SAN JOSE DIVISION
                            101 MONTGOMERY STREET, SUITE 1950




                                                                  12
KELLER BENVENUTTI KIM LLP

                              SAN FRANCISCO, CALIFORNIA 94104




                                                                                                                         Case No. 25-50764 (MEH)
                                                                  13       In re:
                                                                           KW LAND COMPANY, LLC, 1                       Chapter 11
                                                                  14
                                                                                                       Debtor.
                                                                  15
                                                                                                                         Case No. 25-50765 (MEH)
                                                                           In re:
                                                                  16                                                     Chapter 11
                                                                           S3 GROUP, LLC,2
                                                                  17                                                     DECLARATION OF LAKHVIR SRAN
                                                                                                       Debtor.           IN SUPPORT OF DEBTORS’ JUNE 2,
                                                                  18                                                     2025 MOTIONS
                                                                  19                                                     Date: June 5, 2025
                                                                                                                         Time: 10:00 a.m. (Pacific Time)
                                                                  20                                                     Place: United States Bankruptcy Court
                                                                                                                                280 South First Street, Courtroom 11
                                                                  21                                                            San Jose, California 95113-3099
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                                                                              The last four digits of KW Land Company, LLC’s tax identification number 8751. The
                                                                       address for service on that Debtor is P.O. Box 2428, Paso Robles, CA 93447.
                                                                  27
                                                                       2
                                                                              The last four digits of the Debtor’s tax identification number 8605. The address for service
                                                                  28   on the Debtor is P.O. Box 401, Kerman, CA 93630.

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